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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

JEAN CLINTON                                                               CIVIL ACTION

VERSUS                                                                      NO. 23-1521

WILSHIRE INSURANCE                                                      SECTION: “T” (2)
COMPANY

                                        ORDER ON MOTION
                                          JULY 7, 2023

APPEARANCES:

MOTION:

(1)       Motion and Incorporated Memorandum to Appoint Neutral Umpire (rec. doc. 7)

          :       Continued to

      1    :      No opposition.

              :   Opposition.

                                            ORDERED

  ____ :          Dismissed as moot.

          :       Dismissed for failure of counsel to appear.

      1   :       Granted as unopposed and on the merits. The Court appoints Justin Drouant
                  as the neutral umpire.

          :       Denied.

          :       Other.



                                                     MICHAEL B. NORTH
                                                UNITED STATES MAGISTRATE JUDGE

CLERK TO NOTIFY:
Francis Joseph Lobrano
Lobrano@carverdarden.com
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